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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
 ________________________________________________

  COMPASS-CHARLOTTE 1031, LLC,

                                    Plaintiff,
          -against-
                                                                    Case No.: 24-cv-55
  PRIME CAPITAL VENTURES, LLC                                       (MAD/CFH)
  BERONE CAPITAL FUND, LP
  BERONE CAPITAL PARTNERS LLC
  BERONE CAPITAL LLC                                                DECLARATION OF
  BERONE CAPITAL EQUITY FUND I, LP                                  JAMES L. TUXBURY
  405 MOTORSPORTS LLC f/k/a Berone Capital Equity
  Partners LLC

                           Defendants.
  ________________________________________________

          I, James L. Tuxbury, hereby declare the following under penalty of perjury, pursuant to 28

U.S.C. § 1746:

          1.     I am an attorney duly admitted to practice before this Court pro hac vice. Dkt. Nos.

34, 55.

          2.     I am also a partner with the law firm of Hinckley, Allen & Snyder LLP, attorneys

for Plaintiff, Compass-Charlotte 1031, LLC (“Plaintiff” or “Compass-Charlotte”) in the above-

referenced matter.

          3.     I respectfully submit this declaration in support of Plaintiff’s Memorandum of Law

in Opposition to Defendant Prime Capital Ventures, LLC’s Emergency Motion for Stay of Order

Appointing Receiver.

          4.     Attached hereto as Exhibit A is a true and correct copy of the Demand for

Arbitration, submitted by Prime Capital Ventures, LLC (“Prime”) against Compass-Charlotte on

January 24, 2024 to the Judicial Arbitration and Mediation Services, Inc.

          5.     Attached hereto as Exhibit B is a true and correct copy of email correspondence,


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dated February 2, 2024 through February 6, 2024, between Will Esser (as counsel for Compass-

Charlotte) and Pieter Van Tol (as counsel for Prime) regarding the Parties’ good faith negotiations

in the selection of a potential arbitrator.

        6.      Attached hereto as Exhibit C is a true and correct copy of email correspondence,

dated February 2, 2024, from Pieter Van Tol (as counsel for Prime) informing the Parties that the

Federal Bureau of Investigation executed search warrants on Kris Roglieri and Kimberly

Humphrey (among others).

        I declare under penalty of perjury that the foregoing is true and correct.



DATED:          February 7, 2024
                Albany, New York

                                                      By:     /s/ James L. Tuxbury
                                                              James L. Tuxbury, Esq.




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